     Case 23-01092-MBK              Doc 13      Filed 04/05/23 Entered 04/05/23 17:19:20           Desc Main
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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  Caption in Compliance with D.N.J. LBR 9004-1(b)

  Paul R. DeFilippo
  Wollmuth Maher & Deutsch LLP
  500 Fifth Avenue                                                         Order Filed on April 5, 2023
                                                                           by Clerk
  12 FL                                                                    U.S. Bankruptcy Court
  New York, Ste 12 FL                                                      District of New Jersey
  New York, NY 10110
  212-382-3300
  Fax : 646-403-3850
  Email: pdefilippo@wmd-law.com

                                                                Adversary Proceeding #: 23-01092-MBK

                                                              Case No.:    ______________________
                                                                               23-01092-MBK
  In Re:

  LTL Management LLC                                          Chapter:     ______________________
                                                                                     11
  v.
  Those Parties Listed on Appendix A to the                   Judge:       ______________________
                                                                              Michael B. Kaplan
  Complaint and John and Jane Does 1-1000



                              ORDER SHORTENING TIME PERIOD FOR NOTICE,
                                SETTING HEARING AND LIMITING NOTICE


      The relief set forth on the following pages, numbered two (2) and three (3) is hereby ORDERED.




DATED: April 5, 2023
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       After review of the application of ________________________________________
                                             Paul R. DeFilippo on behalf of Debtor for the reduction of
time for a hearing on _________________________________________________________________________
                       Motion to Seal re: Certain Confidential Exhibits Related to Debtor's Complaint
__________________________________________________________under
for Injunctive Relief and Related Motion                        Fed. R. Bankr. P. 9006(c)(1), it is

       ORDERED as follows:

       1. A hearing will be conducted on the matter on _______________________________
                                                                April 18, 2023         at __________
                                                                                           10:00am in
the United States Bankruptcy Court, ____________________________________________________________,
                                                 402 East State Street Trenton, NJ 08608
Courtroom No.      8     .

       2. The Applicant must serve a copy of this Order, and all related documents, on the following parties:
____________________________________________________________________________________________
 All Interested Parties

____________________________________________________________________________________________
by ☐ each, ☐ any of the following methods selected by the Court:

            ☐ fax, ☐ overnight mail, ☐ regular mail, ☐ email, ☐ hand delivery.


       3. The Applicant must also serve a copy of this Order, and all related documents, on the following parties:
____________________________________________________________________________________________
____________________________________________________________________________________________
by ☐ each, ☐ any of the following methods selected by the Court:

            ☐ fax, ☐ overnight mail, ☐ regular mail, ☐ email, ☐ hand delivery.


       4. Service must be made:

            ☐ on the same day as the date of this order, or

            ☐ within ________ day(s) of the date of this Order.


       5. Notice by telephone:

             ☐ is not required

             ☐ must be provided to ________________________________________________________

                   ☐ on the same day as the date of this Order, or

                   ☐ within _________ day(s) of the date of this Order.


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  6. A Certification of Service must be filed prior to the hearing date.


  7. Any objections to the motion/application identified above:

       ☐ must be filed with the Court and served on all parties in interest by electronic or overnight mail
       __________ day(s) prior to the scheduled hearing; or

       ☐ may be presented orally at the hearing.


  8.   ☐ Court appearances are required to prosecute the motion/application and any objections.

       ☐ Parties may request to appear by phone by contacting Chambers prior to the return date.




                                                                                                    rev.2/1/16



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